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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF KENTUCKY
                                      CENTRAL DIVISION
                                         FRANKFORT

    COMMONWEALTH OF KENTUCKY, ex                        )
    rel, and ATTORNEY GENERAL ANDY                      )
    BESHEAR,                                            )          Case No. 3:18-cv-00010-GFVT
                                                        )
         Plaintiffs,                                    )
                                                        )                       ORDER
    V.                                                  )
                                                        )
    MCKESSON CORPORATION,                               )
                                                        )
         Defendant.
                                           ***    ***       ***   ***

         This case was originally filed by Plaintiff in the Circuit Court of Franklin County,

Kentucky. This complaint alleges counts of consumer protection act violation, public nuisance,

breach of statutory duties/negligence per se, negligence, unjust enrichment, fraud by omission,

and two counts of Medicaid fraud. [See R. 1-2.] On February 23, 2018, the Defendant removed

the case to this Court. [R. 1.] Now, the Plaintiff has moved to remand the case back to state

court. [R. 4.]

         This case is similar to the approximately twenty additional cases brought before this

Court,1 suing the manufacturers and distributors of opioid prescription medications for allegedly

1
 See Boone County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 2:17-cv-00157; Pendleton
County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 2:17-cv-00161; Campbell County Fiscal
Court v. AmerisourceBergen Drug Corporation, et al., No. 2:17-cv-00070; Franklin County Fiscal Court v.
AmerisourceBergen Drug Corporation, et al., 3:17-cv-00071; Shelby County Fiscal Court v. AmerisourceBergen
Drug Corporation, et al., No. 3:17-cv-00072; Henry County Fiscal Court v. AmerisourceBergen Drug Corporation,
et al., No. 3:17-cv-00073; Boyle County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 5:17-cv-
00367; Fleming County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 5:17-cv-00368; Garrard
County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 5:17-cv-00369; Lincoln County Fiscal
Court v. AmerisourceBergen Drug Corporation, et al., 5:17-cv-00370; Madison County Fiscal Court v.
AmerisourceBergen Drug Corporation, et al., No. 5:17-cv-00371; Nicholas County Fiscal Court v.
AmerisourceBergen Drug Corporation, et al., No. 5:17-cv-00373; Bell County Fiscal Court v. AmerisourceBergen
Drug Corporation, et al., No. 6:17-cv-00246; Harlan County Fiscal Court v. AmerisourceBergen Drug
Corporation, et al., No. 6:17-cv-00247; Knox County Fiscal Court v. AmerisourceBergen Drug Corporation, et al.,
No. 6:17-cv-00248; Leslie County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 6:17-cv-00249;
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deceptive practices in promoting the medication. These cases have been transferred to the

Northern District of Ohio for Multidistrict Litigation. See In re Nat’l Prescription Opiate Litig.,

MDL No. 2804, 2017 WL 6031547 (N.D. Ohio, Dec. 5, 2017). McKesson is a named defendant

in that case. Id. In the Transfer Order, Judge Polster stated:

        Plaintiffs in the actions before us are cities, counties and states that allege that: (1)
        manufacturers of prescription opioid medications overstated the benefits and
        downplayed the risks of the use of their opioids and aggressively marketed
        (directly and through key opinion leaders) these drugs to physicians, and/or (2)
        distributors failed to monitor, detect, investigate, refuse and report suspicious
        orders of prescription opiates. All actions involve common factual questions
        about, inter alia, the manufacturing and distributor defendants’ knowledge of and
        conduct regarding the alleged diversion of these prescription opiates, as well as
        the manufacturers’ alleged improper marketing of such drugs. Both
        manufacturers and distributors are under an obligation under the Controlled
        Substances Act and similar state laws to prevent diversion of opiates and other
        controlled substances into illicit channels. Plaintiffs assert that defendants have
        failed to adhere to those standards, which caused the diversion of opiates into
        their communities. Plaintiffs variously bring claims for violation of RICO
        statutes, consumer protection laws, state analogues to the Controlled
        Substances Act, as well as common law claims such as public nuisance,
        negligence, negligent misrepresentation, fraud and unjust enrichment.

        The parties opposing transfer stress the uniqueness of the claims they bring (or the
        claims that are brought against them), and they argue that centralization of so
        many diverse claims against manufacturers and distributors will lead to
        inefficiencies that could slow the progress of all cases. While we appreciate these
        arguments, we are not persuaded by them. All of the actions can be expected to
        implicate common fact questions as to the allegedly improper marketing and
        widespread diversion of prescription opiates into states, counties and cities across
        the nation, and discovery likely will be voluminous. Although individualized
        factual issues may arise in each action, such issues do not – especially at this early
        stage of litigation – negate the efficiencies to be gained by centralization. The
        transferee judge might find it useful, for example, to establish different tracks for
        the different types of parties or claims. The alternative of allowing the various
        cases to proceed independently across myriad districts raises a significant risk of
        inconsistent rulings and inefficient pretrial proceedings. In our opinion,
        centralization will substantially reduce the risk of duplicative discovery, minimize
        the possibility of inconsistent pretrial obligations, and prevent conflicting rulings
        on pretrial motions. Centralization will also allow a single transferee judge to
        coordinate with numerous cases pending in state courts. Finally, we deny the

Whitley County Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 6:17-cv-00250; Clay County
Fiscal Court v. AmerisourceBergen Drug Corporation, et al., No. 6:17-cv-00255.

                                                      2
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       requests to delay transfer pending rulings on various pretrial motions (e.g.,
       motions to dismiss or to remand to state court) or until the completion of
       document discovery in City of Chicago.

Id. at *3 (emphasis added).

       By naming one of the same defendants and alleging the same set of complaints, this

action is likely to be consolidated with In re Nat’l Prescription Opiate Litig. Judge Polster has

indicated his desire to address motions to remand collectively, as several other actions in the

multidistrict litigation have also named non-diverse defendants. Thus, this Court finds that a

deferral of the Motion to Remand is appropriate. Being sufficiently advised, the Court hereby

ORDERS as follows:

       1.      The Plaintiff’s Motion for Remand [R. 4] is DEFERRED pending a

determination of the Judicial Panel on Multidistrict Litigation;

       2.      The Motion to Expedite Briefing Schedule is DENIED as MOOT;

       3.      This action shall be STAYED [R. 7] pending a determination of the Judicial

Panel on Multidistrict Litigation; and

       4.      The parties SHALL FILE a status report no later than one-hundred and eighty

(180) days from the date of entry of this order explaining any relevant developments.

       This the 12th day of April, 2018.




                                                 3
